Case 1:23-mi-99999-UNA Document 2282-18 Filed 07/19/23 Page 1 of 2
JS44 (Rev. 10/2020 NDGA) CIVIL COVER SHEET

The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record, (SEE INSTRUCTIONS ATTACHED)

I. (a) PLAINTIFF(S) DEFENDANT(S)

Ronald Wright Sanchez Arredondo
Cobra Carrier, LLC

(b) COUNTY OF RESIDENCE OF FIRST LISTED COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF. Dekalb, GA DEFENDANT Hidalgo, TX
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED
(c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND ATTORNEYS (IF KNOWN)
E-MAIL ADDRESS)
Edward Hardrick, Esq. Robyn M. Roth, Esq.
Morgan and Morgan, PLLC, 178 S Main Street, Unit Fain, Major & Brennan, PC, One Premier Plaza, 5605
300, Alpharetta, GA 30009 Glenridge Drive, NE, Suite 900, Atlanta, GA 30342
770-576-7634 404-688-6633
ehardrick@forthepeople.com rroth@fainmajor.com
II. BASIS OF JURISDICTION Ill. CITIZENSHIP OF PRINCIPAL PARTIES
(PLACE AN “X” IN ONE BOX ONLY) (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
(FOR DIVERSITY CASES ONLY)
PLF DEF PLF DEF
Ci U.S, GOVERNMENT CIs FEDERAL QUESTION 1 CJ 1 CITIZEN OF THIS STATE O 4 0 4 INCORPORATED OR PRINCIPAL
PLAINTIFF (U.S. GOVERNMENT NOT A PARTY) PLACE OF BUSINESS IN THIS STATE
CI, U.S. GOVERNMENT V1. DIVERSITY L, vl, CITIZEN OF ANOTHER state 5 Iv). INCORPORATED AND PRINCIPAL.
DEFENDANT (INDICATE CITIZENSHIP OF PARTIES PLACE OF BUSINESS IN ANOTHER STATE
IN ITEM TI)
C1, LI, CITIZEN OR SUBJECT OF A LI. L1. FOREIGN NATION

FOREIGN COUNTRY

IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)

CJ C CL C] TRANSFERRED FROM C cmeanone LI APPEAL TO DISTRICT JUDGE
1 ORIGINAL 2 REMOVED FROM 3 REMANDED FROM 4 REINSTATED OR 5 ANOTHER DISTRICT 6 LITIGATION - 7 FROM MAGISTRATE JUDGE
PROCEEDING STATE COURT APPELLATE COURT REOPENED (Specify District) TRANSFER JUDGMENT

MULTIDISTRICT
8 LITIGATION -
DIRECT FILE

V. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
JURISDICTIONAL STATUTES UNLESS DIVERSITY)

The within case is a personal injury action wherein federal court jurisdiction is based upon diversity of citizenship of the
parties pursuant to 28 USC Section 1332.

(IF COMPLEX, CHECK REASON BELOW)

O 1. Unusually large number of parties. O 6. Problems locating or preserving evidence

O 2. Unusually large number of claims or defenses. C] 7. Pending parallel investigations or actions by government.
C] 3. Factual issues are exceptionally complex C 8. Multiple use of experts.

OJ 4. Greater than normal volume of evidence. L] 9. Need for discovery outside United States boundaries.
O 5, Extended discovery period is needed, Cho. Existence of highly technical issues and proof.

CONTINUED ON REVERSE

FOR OFFICE USE ONLY
RECEIPT # AMOUNT $ APPLYING IFP MAG. JUDGE (IFP)
JUDGE : MAG. JUDGE. NATURE OF SUIT CAUSE OF ACTION

(Referral)

Case 1:23-mi-99999-UNA Document 2282-18 Filed 07/19/23 Page 2 of 2

VI. NATURE OF SUIT cetace ax «x 1 one Box ONLY)

CONTRACT - "0" MONTHS DISCOVERY TRACK
150 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT
(J 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans)
(1153 RECOVERY OF OVERPAYMENT OF
VETERAN'S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK

110 INSURANCE

A 120 MARINE
130 MILLER ACT

(2) 140 NEGOTIABLE INSTRUMENT
151 MEDICARE ACT
160 STOCKHOLDERS! SUITS
190 OTHER CONTRACT
195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK

210 LAND CONDEMNATION

220 FORECLOSURE

230 RENT LEASE & EJECTMENT

240 TORTS TO LAND

245 TORT PRODUCT LIABILITY

290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK
~~ F>7310 AIRPLANE

315 AIRPLANE PRODUCT LIABILITY

320 ASSAULT, LIBEL & SLANDER

330 FEDERAL EMPLOYERS’ LIABILITY

[340 MARINE

— 345 MARINE PRODUCT LIABILITY

350 MOTOR VEHICLE

[_]355 MOTOR VEHICLE PRODUCT LIABILITY

[_] 360 OTHER PERSONAL INJURY

P| 362 PERSONAL INJURY - MEDICAL

MALPRACTICE

[-]365 PERSONAL INJURY - PRODUCT LIABILITY

(367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY

[7 368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK
]370 OTHER FRAUD
[_] 371 TRUTH IN LENDING
380 OTHER PERSONAL PROPERTY DAMAGE
| 385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK

422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 157

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK
440 OTHER CIVIL RIGHTS
441 VOTING
442 EMPLOYMENT
443 HOUSING/ ACCOMMODATIONS
445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other
(CL) 448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK
462 NATURALIZATION APPLICATION
465 OTHER IMMIGRATION ACTIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY
TRACK
463 HABEAS CORPUS- Alien Detainee
510 MOTIONS TO VACATE SENTENCE
530 HABEAS CORPUS
§35 HABEAS CORPUS DEATH PENALTY
540 MANDAMUS & OTHER
$50 CIVIL RIGHTS - Filed Pro se
§55 PRISON CONDITION(S) - Filed Pro se
[CJ 560 CIVIL DETAINEE CONDITIONS OF
CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY
TRACK

“~TZ] 550 CIVIL RIGHTS - Filed by Counsel

[[] 555 PRISON CONDITTON(S) - Filed by Counsel

FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
TRACK
L] 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
(CO 60 OTHER

LABOR - "4" MONTHS DISCOVERY TRACK
710 FAIR LABOR STANDARDS ACT
720 LABOR/MGMT. RELATIONS
740 RAILWAY LABOR ACT
751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION
H 791 EMPL. RET. INC. SECURITY ACT

PROPERTY RIGHTS - "4" MONTHS DISCOVERY
TRACK
“—~T_] 820 COPYRIGHTS

(C) 840 TRADEMARK

(CJ 880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

PROPERTY RIGHTS - "8" MONTHS DISCOVERY
TRACK
830 PATENT
OO 835 PATENT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Hatch-Waxman cases

SOCIAL SECURITY - "0" MONTHS DISCOVERY
TRACK

861 HIA (1395ff)

862 BLACK LUNG (923)

863 DIWC (405(g))

863 DIWW (405(g))

864 SSID TITLE XVI
LH 865 RSI (405(p))

FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
TRACK

[L] 870 TAXES (US. Plaintiff or Defendant)

OC) #7 IRS - THIRD PARTY 26 USC 7609

OTHER STATUTES - "4" MONTHS DISCOVERY
TRACK

| 375 FALSE CLAIMS ACT
376 Qui Tam 31 USC 3729(a)
400 STATE REAPPORTIONMENT

430 BANKS AND BANKING

450 COMMERCE/ICC RATES/ETC

460 DEPORTATION

470 RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS

480 CONSUMER CREDIT

485 TELEPHONE CONSUMER PROTECTION ACT

490 CABLE/SATELLITE TV

A 890 OTHER STATUTORY ACTIONS

891 AGRICULTURAL ACTS

893 ENVIRONMENTAL MATTERS

4 895 FREEDOM OF INFORMATION ACT 899

(C] #899 ADMINISTRATIVE PROCEDURES ACT /
REVIEW OR APPEAL OF AGENCY DECISION

(1) 950 CONSTITUTIONALITY OF STATE STATUTES

OTHER STATUTES - "8" MONTHS DISCOVERY

TRACK

= 410 ANTITRUST
850 SECURITIES / COMMODITIES / EXCHANGE

OTHER STATUTES - “0" MONTHS DISCOVERY,
TRACK

(1) 896 ARBITRATION
(Confirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE. SEE LOCAL RULE 26.3

VIL REQUESTED IN COMPLAINT:

CHECK IF CLASS ACTION UNDER F.R.Civ.P, 23

DEMAND $

JURY DEMAND O YES O NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

VIII RELATED/REFILED CASE(S) IF ANY

JUDGE

DOCKET NO.

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
(C1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT,

(3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE.

(115. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
(116. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

(17. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.

DISMISSED. This case [18 [C1] IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.

, WHICH WAS

AZO

F/N9/2Zs

SIGNATURE OF ATTORNEY OF RECORD

DATE
